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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

SANDRA L. ALBRECHT,                           §
                                              §
       Plaintiff,                             §
                                              §
                                              §
v.                                            §   CIV. A. NO. ____________
                                              §
                                              §
HOTEL RESERVATION                             §
SERVICE, INC.                                 §
                                              §   JURY DEMANDED
       Defendant.                             §
                                              §

               ORIGINAL COMPLAINT AND JURY DEMAND

       Sandra L. Albrecht complains of Hotel Reservation Service, Inc.’s

violations of federal and state law forbidding discrimination in employment.

HRS’s decisions, acts, and omissions regarding Albrecht violate the Age

Discrimination in Employment Act of 1967 (“ADEA”), as amended, 29 U.S.C. §

621, et seq., and the Texas Commission on Human Rights Act (“TCHRA”), as

amended, Tex. Labor Code § 21.001 et seq.


                                I.      INTRODUCTION

       1.      Hotel Reservation Service, Inc. (HRS) holds itself out as a

forward-looking company that aims to disrupt the travel industry. Regrettably,

HRS’s identity rests on a foundation of ugly age bias and impermissible ageist

stereotypes. When its North American sales director refused to rid the

company of “old, fat, lazy people” on his team, HRS brought in a new director



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willing to act on both this explicit age bias and on time-worn stereotypes that

older employees are unable or unwilling to learn new skills. A long-time, well-

liked, and productive employee in her mid-50s, Sandra L. Albrecht, was in the

way. HRS terminated her – suddenly and without prior performance

counseling – on or about January 17, 2020. Disregarding its duties under the

law, HRS would not have terminated Albrecht when it did but for her age

and/or impermissible age biases and stereotypes. Albrecht now brings this suit

to end HRS’s discriminatory practices, to protect others from HRS’s flagrant

age bias, and to be made whole for the significant and lasting harm done.


                                     II.      PARTIES

        2.     Sandra L. Albrecht is a 56-year-old citizen of Texas residing in

Coppell, Dallas County, Texas.

       3.      Hotel Reservation Service, Inc. (“HRS”) is a foreign corporation

with its headquarters at 1156 Avenue of the Americas, Ste. 305, New York, NY

10036. HRS conducted business in Texas – including by employment Albrecht

and others in Texas – at all times material to these claims and continues to do

substantial business in Texas. The causes of actions asserted below arose from

and are connected to purposeful acts by HRS and its agents during and after

Albrecht’s employment. HRS may be served with process on its registered

agent, CT Corporation System, 1999 Bryan St., Ste. 900, Dallas, TX 75201.

       4.      When Albrecht alleges that HRS acted or failed to act, she means

that its officers, directors, principals, vice-principals, agents, servants, and/or



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employees committed the act or omission within the course and scope of that

individual’s agency or employment with HRS and with HRS’s full

authorization, ratification, or approval.

                       III.    JURISDICTION AND VENUE

       5.      This court has original jurisdiction to hear the merits of these

ADEA claims under 28 U.S.C. §§ 1331 and 1343 and 29 U.S.C. § 626. The court

has supplemental jurisdiction over the TCHRA claims under 28 U.S.C. § 1367.

       6.      HRS does substantial business in this district and division and is

subject to personal jurisdiction here. A substantial portion of the acts and

omissions leading to Albrecht’s claims – including the unlawful termination –

occurred at the Dallas Office, 770a Las Colinas Blvd., Suite 440, Irving, Texas

75063. Venue is therefore proper in this district and division under 28 U.S.C.

§ 1391.


                         IV.     FACTUAL BACKGROUND

       7.      Hotel Reservation Service Robert Ragge GmbH (“HRS Group”)

markets itself as a worldwide provider of business hotel procurement services

for corporate travel managers and companies around the world. Based in

Cologne, Germany, HRS Group employs around 1500 people in over two dozen

offices worldwide, including three offices in the United States. HRS is the HRS

Group’s U.S. subsidiary. As of the end of 2019, HRS had three offices in the

United States (Dallas, New York, and San Francisco) and employed over 40

employees in this country. HRS Group’s Chief Executive Officer is Tobias


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Ragge, son of the company’s founder. Ragge is also HRS’s President and a

member of its Board of Directors.

       8.      From about 2015 to about January 2020, Suzanne Neufang was

HRS Group’s Senior Vice President – Enterprise Solutions and its Managing

Director – North America. Neufang recruited and hired Albrecht – as one of

her earliest hires – in or about April 2015 as the Head of Strategic Partnerships

– North America. Albrecht had over a decade of experience in the corporate

travel and technology industry when hired. That experience included strategy,

development, and implementation of business-to-business (B2B) partnerships

and client retention programs.

       9.      HRS was at all relevant times an “employer” under the ADEA and

the TCHRA.

       10.     HRS professes to be an equal-employment opportunity employer

and to value its employees. But in practice the company places almost no

emphasis on worker protections like anti-discrimination laws and equal-

employment-opportunity policies. Training on non-discrimination and non-

retaliation practices and protections is minimal, and this lack of emphasis

filters down to employment decisions.

       11.     HRS thought highly of Albrecht’s performance for nearly five

years, until her unlawful termination in or about January 2020. Until then,

feedback from supervisors and company leadership was overall quite positive.

Her manager, Eric Hofer (Director, Enterprise Solutions – North America),




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found her to be a “dedicated, hard-working, and positive contributor to the

Sales team.” The company showed its confidence by asking Albrecht in or about

August 2018 to become the Head of Business Development, reporting to Hofer.

       12.     HRS never issued Albrecht written performance counseling or

any Performance Improvement Plan in nearly five years of employment. In or

about 2019, Albrecht brought the likes of Accenture and Oracle to the table,

retained Halliburton when they were walking out the door, obtained a verbal

agreement from The Weirs Group, developed an active pipeline, and closed

business with Koenig & Bauer and ATOS USA. HRS gave no counseling or

warning about performance concerns or deficiencies. In fact, as late as or about

December 12, 2019, Neufang (also in her 50s) complimented Albrecht and

raved about her performance at a prospect meeting.

       13.     In or about May 2019, Hofer left HRS over disagreements about

HRS’s discriminatory practices. His departure followed meetings with CEO

Ragge in or about April 7-9 at the ACTE conference in Chicago, Illinois. In a

meeting on or about April 8, 2019, on the periphery of the conference space,

Ragge indicated that he expected Hofer to “get rid of these old, fat, lazy people,”

referring to a group of HRS employees standing nearby. Albrecht, Ed Li, and

another six to eight people (most, if not all, in their 40s or older) comprised the

targeted group.

       14.     Notably, the “old, fat, lazy people” directive from Ragge was not

the first time that Ragge made insensitive, age-biased, mean spirited, or




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otherwise improper comments to or around Hofer and other HRS leadership.

On more than one occasion during leadership or strategy discussions, Ragge

assessed that a current employee did not “fit the mold,” saying instead that

HRS needed “young, aggressive” types. Ragge directed Hofer and others not to

hire “travel industry people” but instead to go after “young, hungry tech

people” going forward. Others in HRS Group and HRS leadership received

directives to “hire young” (specifically, young women).

       15.     In or about June 2019, the company reassigned Albrecht as an

individual contributor Business Development Manager (BDM). In this role,

Albrecht solicited and interfaced directly with some of the company’s largest

and most consequential potential new customers (including Accenture, Oracle,

The Weir Group, Halliburton, ATOS, Koenig, and Bauer, among many others).

As of about January 2020, Albrecht had more than $1 billion in hotel turnover

– which is how HRS rates prospects – in her pipeline and closed substantial

business and brought high-profile prospects to the table in 2019.

       16.     In or about mid-June 2019, Neufang spoke with Albrecht about

moving into the BDM role. Neufang explained that the company was searching

for Hofer’s replacement and that CEO Ragge did not want a management layer

between the Director of Sales and the BDMs. Neufang added that Albrecht’s

skills were needed to close sales rather than manage a team, which would be

the focus of the new Director of Sales. She highlighted the role’s significant

financial upside via the greater bonus potential as an individual BDM.




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       17.     On or about June 12, 2019, Neufang followed the in-person

discussion with a letter confirming the reassignment. Neufang thanked

Albrecht for her “contribution as Head of BDMs these past few months.” She

then said that due “to HRS CEO directives [HRS was] making an organization

structure change, effective June 24, 2019.” Neufang’s letter then set out

Albrecht’s pay and bonus opportunity in the BDM role. Over the next six

months as an individual contributor, Albrecht developed a robust pipeline,

closed substantial business, and brought high-profile prospects to the table.

       18.     HRS hired Vincent Spadafora (then-early 40s) in or about July

2019 to replace Hofer as the Director of Sales. Over the next few months,

Spadafora fired one BDM and drove out another (who was in his 50s). That left

Albrecht as the only BDM in the Dallas office by the end of 2019, at a time

when HRS was in explicit and much-publicized growth mode.

       19.     Between or about August 3-7, 2019, Albrecht and others from

HRS Group attended the Global Travel Association meeting in Chicago,

Illinois. CEO Ragge also attended and, on information and belief, discussed

strategy and personnel with the new Director of Sales, Spadafora.

       20.     In or about November 2019, Spadafora met with Albrecht for

their first one-on-one meeting. Spadafora was satisfied with Albrecht’s overall

performance and gave no indication of concern. On the contrary, Spadafora

asked Albrecht to consider a move into Account Management. Spadafora said

he thought the Head of Account Management might leave and that Albrecht




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would be perfect for that role because she could train Account Managers how

to cross-sell and upsell, which he said was needed. Albrecht said that she would

think about it.

       21.     In or about early December 2019, Albrecht and others in the

Dallas office learned that CEO Ragge would be at the Dallas office for the Sales

Kickoff meeting to be held on or about January 30-31, 2020.

       22.     In or about January 2020, HRS hired two new BDMs in the DFW

office, including a male in his 30s with little or no travel-industry experience

(Chris Peterman). Peterman lasted less than six months in the position, while

the other new BDM left HRS in or about July 2020.

       23.     In or about the week of January 10, 2020, Spadafora held a one-

on-one meeting with Albrecht so that she could prepare Spadafora for his

presentation at the upcoming Sales Kickoff. Spadafora asked to review the top

10 North America prospects (five of which were in Albrecht’s pipeline).

       24.     HRS terminated Albrecht on or about Friday, January 17, 2020.

Around 3:00pm, Albrecht met Spadafora in a conference room under the

pretense of meeting to discuss a business case on Albrecht’s prospect

(Accenture). Spadafora began talking about the pressures of the new year and

expectations on “[him] and [his] team.” He claimed that the North America

region was reorganizing – that the US region that had been reporting to the

“CTO or COO” – would now report directly to CEO Ragge. Spadafora said that




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this would “put a lot more pressure on [him] and [his] team” and that if he

didn’t “deliver” he would be “walked out.”

       25.     Not realizing what was about to happen, Albrecht helpfully

responded, “That won’t happen.” Spadafora snapped back that “as the Director

of Sales” he better “deliver or that is what will happen”: he would be let go

(“When people don’t deliver, they get fired.”). He said that he was “under the

gun” and that Albrecht doesn’t “fit the model of the 2020 salesperson,” a veiled

age reference. He said, “Expectations are high, and my expectation is that you

should be doing more cold calling.” He then said that they had discussed setting

time on Albrecht’s calendar to be cold calling. Spadafora then claimed that he

had not heard Albrecht on the phone that day, which surprised Albrecht

because she knew he had. After a short pause, he blurted out, “So, I’m going to

have to let you go.” Dumbfounded, Albrecht responded: “I spent yesterday cold

calling and just returned from an in-person sales meeting.” Spadafora acted

like he did not want to hear it. His demeanor throughout was intimidating.

       26.     The discussion continued but only got worse. Spadafora said that

he was “giving [her] until the 31st on the payroll” and then a month’s

severance. “But,” he said, “I’m going to need you to work that first week to train

the new BDM coming in.” In disbelief, Albrecht asked: “You expect me to work

the first week of severance?” He said, “Well, maybe just Monday, Tuesday, and

Wednesday … the first three days.” She asked him if she was expected to

attend the Americas Kickoff meeting, to which he said, “No.”




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       27.     Albrecht was stunned by the sudden termination. Spadafora had

no separation or severance documentation and had not consulted Human

Resources about the decision or process, contrary to standard practices.

Instead, he could only offer how difficult this was on him because he realized

“everyone” respected Albrecht. Spadafora then suggested that Albrecht could

be untruthful about what was happening: he said that Albrecht could say that

she was leaving voluntarily and that he would back her up. He ended the

meeting with the expectation that Albrecht would email all prospects letting

them know that she was departing HRS and introducing Spadafora as the new

contact. When Albrecht said nothing, Spadafora said that a Human Resources

manager would be in touch “to hash it out with her on Monday.” He then

wished her a “great weekend,” and Albrecht left to pack up her things and leave

the office for the last time after nearly five years.

       28.     Albrecht, who prides herself on work ethic and integrity, went

home from the termination meeting to finish follow-up items from the earlier

prospect meeting. Over the next days, she complied with Spadafora’s directive

to work the next two weeks, which included training the new BDMs.

       29.     Spadafora’s explanations for the sudden termination were that

Albrecht did not “fit the model of the 2020 salesperson” and that he

(supposedly) had not heard Albrecht making any cold calls that day. The first

explanation itself reflects HRS’s age bias, and the second explanation is false

and a pretext for age discrimination.




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       30.     On or about the week after the Spadafora meeting, an HRS

Human Resources person sent Albrecht severance paperwork indicating that

her last day of employment would be January 31, 2020. The paperwork

included a small severance offer and asked her to sign away her rights under

the age-discrimination laws.

       31.     In or about the week of January 20, 2020, Albrecht spoke with

Neufang by phone. Neufang, who would soon be “let go” herself, apologized for

recruiting Albrecht to HRS. Neufang said that HRS had become a “hostile,

toxic work environment” over the past year and suggested that Vince was

“probably only following marching orders” when he fired Albrecht. Neufang

also complimented Albrecht’s “robust pipeline” and how she had achieved it in

only six months.

       32.      On or about March 9, 2020, Albrecht filed a charge of age

discrimination against HRS with the United State Equal Employment

Opportunity Commission and the Texas Workforce Commission – Civil Rights

Division. More than 180 days have elapsed, and the EEOC issued a right-to-

sue notice that Albrecht received on or about April 12, 2021. Albrecht

requested a right-to-sue letter from the TWC-CRD on or about April 21, 2021.

Albrecht has exhausted all administrative prerequisites to filing suit under the

ADEA and TCHRA.

       33.     HRS Group claims that its employees “are the foundation and

soul of HRS.” And while HRS Group claims among its values “mutual




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responsibility” – meaning, that those associated with HRS “appreciate and

genuinely care for each other”1 – HRS’s willful mistreatment of a long-time,

loyal, and hard-working employee like Albrecht and other older employees

shows this to be a hollow claim. For example, although HRS Group claims that

“[a]ny employee who discriminates against or harasses another will be subject

to disciplinary action…,” the company has, on information and belief, taken no

action – disciplinary or otherwise – against Ragge, Spadafora, or anyone else

involved in the age-biased personnel decisions that impacted Albrecht (and

likely others).

       34.     The sudden termination, based on false reasons, has had a

terrible impact on Albrecht. As a survivor of a recent serious health condition,

Albrecht’s mindset in the wake of the termination immediately went to “what

if I don’t have health benefits?” And as a recent widow, Albrecht’s livelihood

depended on her HRS compensation. She had immediate financial concerns.

Beyond those grave concerns, HRS’s discrimination caused Albrecht

significant harm – both personal and professional, and both economic and non-

monetary. The harm HRS inflicted on her is severe and lasting. On a personal

level, HRS’s illegal conduct caused Albrecht, among other harms, anxiety,

stress, sleeplessness, mental anguish and emotional distress, and other non-

economic injuries. The loss of HRS health benefits forced her to postpone


1OUR VALUES, HRS Group website (available at:
https://jobs.hrs.com/content/Our-values/?locale=en_US)(last visted Apr. 22,
2021).


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needed medical procedures, leading to both undue stress and health

complications. On a professional level, HRS damaged Albrecht’s reputation,

among other harms.


                             V.      CAUSES OF ACTION

   COUNTS ONE AND TWO: AGE DISCRIMINATION UNDER THE
            ADEA AND THE TEXAS LABOR CODE

       35.     Albrecht incorporates by reference paragraphs 1 through 34.

       36.     Congress enacted the ADEA after finding that “older workers find

themselves disadvantaged in their efforts to retain employment, and especially

to regain employment when displaced from jobs,” that “the setting of arbitrary

age limits regardless of potential for job performance [had] become a common

practice…,” that older workers’ employment problems were “grave,” and that

“the existence in industries affecting commerce, of arbitrary discrimination in

employment because of age, burdens commerce ….” 29 U.S.C. § 621. Congress

intended the ADEA to “promote the employment of older persons based on

their ability rather than age; to prohibit arbitrary age discrimination in

employment; [and] to help employers and workers find ways of meeting

problems arising from the impact of age on employment.” Id. Consequently,

the ADEA make it an unlawful employment practice for employers to “fail or

refuse to hire or to discharge any individual or otherwise discriminate against

any individual with respect to his compensation, terms, or privileges of

employment, because of such individual’s age….” 29 U.S.C. § 623(a).




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       37.     The Texas Legislature enacted the TCHRA, among other reasons,

to “secure for persons in this state… freedom from discrimination in certain

employment transactions, in order to protect their personal dignity,” to “make

available to the state the full productive capacities of persons in this state,”

including those 40 years and older, and to promote “the interests, rights, and

privileges of persons in this state.” TEX. LAB. CODE § 21.001. Consequently, the

TCHRA also forbids discrimination in the terms, conditions, and privileges of

employment because of age. TEX. LAB. CODE § 21.051. The TCHRA protects

employees who are 40 years of age or older. TEX. LAB. CODE § 21.101.

       38.     HRS’s actions and omissions are unlawful age discrimination

under the ADEA and the TCHRA. HRS terminated Albrecht (then-age 55)

because of her age. HRS would not terminated Albrecht at the time that it did

had she been younger and/or had HRS not acted on impermissible age bias and

stereotypes. Moreover, HRS knew that its actions violated the ADEA and the

Texas Labor Code and/or acted with reckless disregard for Albrecht’s rights.


                      DAMAGES AND OTHER REMEDIES

       39.     Albrecht incorporates by reference paragraphs 1 through 38.

       40.     HRS’s discrimination caused Albrecht significant harm. The

ADEA and TCHRA entitle her to be made whole for this harm. She seeks

equitable relief necessary to return her to the position that she would have

held absent HRS’s unlawful conduct and to protect her and others from age

discrimination.



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       41.     HRS’s discrimination caused Albrecht to suffer – and she expects

yet to suffer – pecuniary losses, including but not limited to, lost wages and

other benefits associated with employment.

       42.     As a further result of HRS’s unlawful conduct, Albrecht has

suffered – and continues to suffer – non-pecuniary losses including, among

others, humiliation, damage to professional and personal reputation, undue

stress, anxiety, mental distress and anguish, loss of enjoyment of life, and other

non-pecuniary losses.

       43.     HRS acted with malice and/or reckless indifference to Albrecht’s

rights. The Texas Labor Code authorizes and demands punitive damages in an

amount necessary to punish HRS’s lawbreaking and deter others from

violating this key public policy.

       44.     HRS acted willfully, in that it acted with reckless disregard for

Albrecht’s rights under federal and state law. Consequently, HRS is liable for

liquidated damages.

       45.     HRS’s unlawful conduct forced Albrecht to retain counsel to

address the harms done. Consequently, she seeks attorney’s fees, expert costs,

costs of suit, and other reasonable litigation expenses.

                            CONDITIONS PRECEDENT

       46.     Albrecht exhausted available administrative remedies under the

ADEA and the TCHRA. All conditions precedent to recovery on the claims




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asserted above have been performed, satisfied, met, and exhausted or have

been waived.


                                VI.     JURY DEMAND

       47.     Albrecht requests a jury trial on all issues and claims in this case.


                                PRAYER FOR RELIEF

       WHEREFORE, Albrecht prays that HRS be summoned to appear and

answer, and that on final trial or summary disposition, the Court enter a

judgment for Albrecht against HRS for the following:


a.     A declaration that HRS’s actions violated United States and Texas law;

b.     Equitable relief necessary to permanently and forever prevent HRS
       from discriminating against Albrecht and other employees because of
       age;

c.     Reinstatement to the position and seniority that she would have held
       but for discrimination, and all other equitable relief necessary to restore
       Albrecht to the position that she would have held but for discrimination;
       and front pay if this other equitable relief is not feasible;

d.     Back pay, including but not limited to lost wages and other employment
       benefits;

e.     Actual and compensatory damages;

f.     Liquidated damages in the maximum amount allowed by law;

g.     Punitive damages in an amount determined by the jury that is sufficient
       to punish HRS for its lawbreaking and deter this defendant and other
       employers from engaging in similar lawbreaking;

h.     Pre- and post-judgment interest;

i.     Attorney’s fees, expert fees, costs of suit, and other reasonable litigation
       expenses; and



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j.     All other legal and equitable relief to which Albrecht is justly entitled.




Dated: May ____,
            18 2021                             Respectfully submitted,

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